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MARSEP Ze PH SAS

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION

ROBERT 8. BARRICK, et al. ) CASE NO. 1:02CV1i999

)
Plaintiffs }
} JUDGE GAUGHAN —~
Vv ) MAGISTRATE JUDGE HEMANN

)

WHEELING & LAKE ERIE RAILWAY }

COMPANY, } STIPULATION OF DISMISSAL
} WITH PREJUDICE

JONES MOTOR CO., INC., and }
)

MERLE W. FARNHAM, )
)

Defendants.
NOW COMES the plaintiffs, Robert S$. Barrick and Amy Barrick, by and through their attorneys,
Patrick J. Harrington and James K. Schultz of HARRINGTON, THOMPSON, ACKER & HARRINGTON,
LTD., the defendant, Wheeling & Lake Erie Railway Company, by and through its attorney, William F. Gibson
of GALLAGHER, SHARP, FULTON & NORMAN, and defendants Jones Motor Co., Inc. and Merle W.
Farnham, by and through their attorney, Mark D. Amaddio of MARK D. AMADDIO CO., L.P.A. and

pursuant to Rule 41 of the Federal Rules of Civil Procedure, with the above-entitled action having been fully

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compromised and settled, hereby stipulate and agree, that this matter may be dismissed in its entirety and

with prejudice, all parties to bear their own costs.

Respectfully submitted,

LLL he

Patrick J. Harrington

James K. Schultz

Attorneys for Plaintiff

HARRINGTON, THOMPSON, ACKER
& HARRINGTON, LTD.

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M.D per Const. yet,

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